Case 2:20-cr-20017-PKH Document 303                Filed 01/21/21 Page 1 of 12 PageID #: 865




                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                  FORT SMITH DIVISION


UNITED STATES OF AMERICA                       )
                                               )
 v.                                            )       CRIMINAL NO. 2:20 CR 20017-006
                                               )
EFRAIN MACIEL-MARTINEZ                         )


                                      PLEA AGREEMENT

       Pursuant to Rule 11(c)(1) of the Federal Rules of Criminal Procedure, the parties hereto

acknowledge that they have entered into negotiations which have resulted in this Agreement. The

agreement of the parties is as follows:

                       COUNTS OF CONVICTION AND DISMISSAL

       1.      The Defendant, Efrain Maciel-Martinez, hereby agrees to plead guilty to count

eighteen (18) of the First Superseding Indictment charging the Defendant with knowing possession

with intent to distribute more than fifty (50) grams of a mixture or substance containing a detectible

amount of methamphetamine, in violation of 21 U.S.C. ' 841(a)(1) & 21 U.S.C. '

841(b)(1)(B)(viii). If the Court accepts this Plea Agreement, once the Court has pronounced

sentence, the United States will move to dismiss the remaining counts of the First Superseding

Indictment and the forfeiture allegation pending against the defendant.

            CONSENT TO PROCEED BEFORE THE MAGISTRATE JUDGE

       2.      The Defendant acknowledges that he has been advised and understands that he has

a right to have a United States District Judge presiding when he enters a guilty plea and that he

can exercise that right without concern or reservation. The Defendant and the United States hereby

consent to have the proceedings required by Rule 11 of the Federal Rules of Criminal Procedure

                                             Page 1 of 12
Case 2:20-cr-20017-PKH Document 303                   Filed 01/21/21 Page 2 of 12 PageID #: 866




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Case 2:20-cr-20017-PKH Document 303                 Filed 01/21/21 Page 3 of 12 PageID #: 867




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Case 2:20-cr-20017-PKH Document 303                   Filed 01/21/21 Page 4 of 12 PageID #: 868




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Case 2:20-cr-20017-PKH Document 303                   Filed 01/21/21 Page 6 of 12 PageID #: 870




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Case 2:20-cr-20017-PKH Document 303                  Filed 01/21/21 Page 9 of 12 PageID #: 873




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 U[l /l [eNETBlU8laC6l !Ud_algCD2Cl /g/[3`laC6l#686T3/Tal/Tl /YY[UX[G/a6 M6f6Nl 462[6/`6lGTlaC6l1/`6l

 U>6T`6lM6f6Ml?[l/226Ya/T26lU8[6`YUT`E1DMDail '8laC6lU>6T`6lM6f6MlETlaC6l)[6`6Ta6T26l*6XU[alE`l l

 U[lB[6/a6[l/T3laC6l!Ud[bl/226Ya`l/l[62USS6T4/aDUTlETlaC6l)[6`6Ta6T26l*6XU[blaC/alaC6l#6=T3/Tal

 [626Df6l agUl XUDTa`l :W[l /226Xa/T26l U8l\6`XUT`E1EMDai l aC6l .TEa64l ,a/a6`l /B[66`l aUl SVf6l ?[l /Tl

 /44DaEUT/OlUT6 XUDTal[64d2aGUTl?[l/226Xa/T26lU8[6`YUT`D1DODbil:W[l/laUa/MlU8laC]66lXUDTa`l%Ug6f6[ l

 aC6l.TDa63l+a/a6`lgDMMlTUal16lU1MEB/a63laUlSUf6l?[l/Tl/33DaDUT/MlUT6 XUDTal[64d2bEUTlU[l[62USS6T4l

 /Til /4Kd`aS6Tal?[l/226Xa/T26lU8l[6`XUT`D1DMDajlD8laC6l#6:7T3/Tal6TB/B6`lETl2UT4d2alET2UT`D`a6Tal

 gDaCl/226Za/T26lU8l[6`XUT`D1DMEailET2Md3DTBl1dalTUalMDSEa64laUlaC6l?MMUgDTBl /l:0M`6Oil46TG6` lU[l


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Case 2:20-cr-20017-PKH Document 303                   Filed 01/21/21 Page 10 of 12 PageID #: 874




   [7W=lx7xln7n=[=anx [7n=hR7XXwxRa;calRln=anx vRnQx nQ=xE;nq7Xx97lRlxl=nxAdhnQxRaxnQRlx7Ph==[=anx 9x

   FXl=Xwx<=aR=lx7<<RnRca7Xxh=X=t7anx;ca<p;nxRaxnQ=xcI=al= x;xRlxqanhqnQOXxvRnQxnQ=x5aRn=<x2n7n=l x

   nQ=x%cqhnxchxehc97nRcaxcJS;=h xchx<x[7n=hR7XXwx9h=7;Q=lxnQRlx/X=7x"Ph==\=anxRax7awxv7wx

                4Q=x5aRn=<x 2n7n=lx7Ph==lxacnx ncxc9U=;nxncx 7xBTa<RaPx:wx nQ=x/hc97nRcax ,?DT;=xchx7

   ]XRaPx9wxnQ=x%cqhnxvQR;Qx7v7i<lxnQ=x&=A>a<7anx7ax7eehcehR7n=xX=t=Xx<=;h=7l=xRaxnQ=x97l=xcAC=al=x

   X=u=XxNhxhcX=xRaxnQ=xcI=al=x

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               #XnQcqPQxnQ=x6aRn=<x2n7n=lx7Ph==lxacnxncxc9V=;nxncx;=in7RaxATa<RaPlx9wxnQ=x/hc:7nRca

  -L;=xchxncxhqXRaPlxc@xnQ=x%cqho xRnxh=l=ht=lxnQ=xhRPQnxncx

                  7      ^7W=x7XXxG;nlxWacvaxncxnQ=x/hc97nRcax.KS;=x7a<xncxnQ=x%cqhn
                  9      ;7XXxvRnb=ll=lx7a<xRanhc<q;=x=uR<=a;=xRaxlqeechnxc@xnQ=x/h=l=an=a;=x0=echn
                  ;      ;can=lnx 7a<x 7ee=7Xx7awx Ma<RaPx c@x A8;nx chx 7eeXR;7nRcax c@x nQ=x 3=an=a;RaP
                          *qR<=XRa=l
                  <      ;can=lnx7a<x7ee=7Xx7awx<=e7hnrh=xAjc_xnQ=x7eehcehR7n=x*qR<=XRa=xh7aP=!x7a<
                        <=Ha<x7YXx hpXRaPlxc@xnQ=x &RlnhR;nx %cqhnxcax7ee=7XxRa;Xq<RaPxnQcl=x]XRaPl
                          vQR;Qx\7wx9=x;canh7kwxncxh=;c\\=a<7nRcalx`7<=xchxeclRnRcalxn7W=ax9wxnQ=
                          5aRn=<x3n7n=lxRaxnQRlx/X=7x#Ph==_=anxvQR;Qx7h=xA8uch79X=xncxnQ=x'=A>a<7an


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               4Q=x5aRn=<x 3n7n=lx ;ca;=llRcalxcaxl=an=a;RaPx cfnRcalx7h=xaca9Ra<RaPx7a<x[7<=

  ephlq7anxncx1rX=xYxY;Y$xc@xnQ=x(=<=h7Xx1qX=lxc@x%hR\Ra7Xx/hc;=<rk=x #lx7xh=lrXn xR@xnQ=x%cqhox

  lQcrZ<x h=U=;nx nQ=x &=@=a<7anlx h=gq=lnlx chx h=;c[_=a<7nRcalx Adhx ;=hn7Rax Ma<RaPlx c@x A8;nx chx

  7feXR;7nRcalxc@xnQ=x*qR<=XRa=lxnQ=x&=B>a<7anx7;WacvX=<P=lxnQ7nxnQ=h=xRlxacxhRPQnxncxvRnQ<h7vxnQ=x

  PpRXnwxeX=7x

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               4Q=x5aRn=<x3n7n=lx7Ph==[=anxncx<Rl_Rllx;=hn7Rax;cqanmxc@xnQ=x+a<R;n[=anxRlx_7<=

 fphlr7anxncx0rX=xxY;Y#xc@xnQ=x)=<=h7Xx0qX=lxc@x%hR_Ra7Xx/hc;=<s=x #lx7xh=lqXn xR@xnQ=x%cqknx


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Case 2:20-cr-20017-PKH Document 303                   Filed 01/21/21 Page 11 of 12 PageID #: 875




   rSjubA} mB\B@s} sSB} :gYsBA} 7s<sBr} djsYjg} sj} AYrdYrr} sSB} <RmBBA} @jugsr} jD} sSB} 2gAY@sdBgs } sSB}

  /BFgA<gs}rS<`b} ?B}<IjmABA}sSB}mYRSs} sj} yYsSAm<y}SYr}lbB<} lumru<gs}sj}6u`B} b}a@8,} jD} sSB}

  0BABm<`}6ubBr}jD}-mYdYg<`}5mj@BAumB}

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               9SB}l<msYBr}<RoBB}sS<s}gjsSYgR}Yg}sSYr})RmBBdBgs}?YgAr}sSB}/YrsmY@s}-jums}sj#

                  <      d<^B}<g|}rlB@YK@}E[gAYgR}jD}E>@s%
                  ?      e<^B}<g|}l<msY@u`<m}=llbY@<sYjg}jD}tSB}7BgsBg@YgR}1uYABbYgBr&
                  @      S<gA}Ajyg}<g|}rlB@YE[@}rBgsBg@B'
                  A      <@@Bls}<g|}rsYlub<sYjg}jD} sSB}l<osYBr}<r}@jgs<YgBA}Yg}sSYr}5bB<})RmBBdBgs(
                          <gA
                  B      <@@Bls}sSYr}5bB<})RmBBdBgs

                9SB}:gYsBA}7s<sBr}<gA}sSB}/BDBgA<gs}<@_gjy`BARB}sS<s}sSB}.juos}S<r}<g}j?bYR<sYjg

  sj}mBxYBy}sSB}5mBrBgsBg@B}6Bljms}?BEkmB}Ys}<@@Blsr}jm}mB]B@sr}sSYr}5bB<})RmBBdBgs}

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          !     9SB}l<msUBr}<RmBB}sS<s}sSYr}5`B<}*RmBBdBgs}AjBr}gjs}?YgA}<g|}RjxBqdBgs<b}BgsYs|

  jsSBm}sS<g}sSB}:gYsBA}7s<sBr})ssjqB|r}4J[@B}Nm}sSB};BrsBq}/YrsmY@s}jD})o^<gr<r}

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              ,|}rVRgYgR}sSYr}5bB<}+RmBBdBgs }sSB}/BFgA<gs}<@^gjy`BARBr}sS<s$

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                         SYd}<gA}S<r}@<nBObb|}mBxYByBA}BxBm|}l<ms}jD}Ys}yYsS}ABFgrB}@jugrBb
                 ?      9SB}/BHgA<gs}P`b|}ugABmrs<gAr}sSYr}5bB<})RmBBdBgs} <gA}Yr}gjs}ugABn}sSB
                         YgEcuBg@B} jD} <g|sSYgR} sS=s} @ju`A} YdlBAB} sSB} /BECgA<gsr} <?YbYs|} sj} Q`b|
                         vgABmrs<hA}sTYr}5bB<})RmBBdBgs
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                         BgsBmBA}Yisj}Yg}@jggB@sYjg}zYsS}sSB}AB@YrYjg}sj}l`B<A}RuYbt|}B{@Bls}sSjrB}rBs
                         MosS}Yg}sSYr}5`B<})RmBBeBgs
                 A      9SB} /BDBgA<gs} Yr} r<sYrLBA} yYsS} sSB} `BR<b} rBmxY@Br} lmjxYABA} ?|} ABECgrB
                         @jugrB`}Yg}@jggB@sYjg}yZsS}sSYr}5bB=})RmBBdBgs}<gA}d<ssBmr}mBb<sBA}sj}Ys
                 B      9SB}/BECgA=gs}S<r}BgsBnBA}Ygsj}sSYr}5bB<})RnBBfBgs}EpBBb|}xj`wgs<mYb| }<gA

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Case 2:20-cr-20017-PKH Document 303                    Filed 01/21/21 Page 12 of 12 PageID #: 876




                            mJeHWjer];d;^l7eJWUr7U:reH;r;BU:7Uedr:;dJ^;reWr;Ue;^r7r\N;7rW>rGjINiprJdrUWer
                            eH;r ];djOer W>reH`;7edr W^r 9W;]9JWUr :J];9e;:r 7er eH;r ;A<U:7Uer W^r 7UpWU;r
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                     7     WjUd;Or H7dr 97];FOOpr ];lJ;m;:r ;l;^pr \7]er W>reHJdr G^;;R;Uer mJeHr eH;
                            ;BU:7Uer7U:r eHJdrG`;;R;Uer799j^7e;Opr7U:r 9WR\N;e;Opr d;edr E^eHr eH;
                            ;UeJ^;r7G_;;R;Uer8;hm;;UreH;r.UJe;:r,e7e;dr7U:reH;r;A=U:7Ue
                     8     WjUd;Or H7dr ;o\O7JU;:r eH;r ^7RJD97eIWUdr W>reH;r )O;7r Ga;;R;Uer eWr eH;
                            ;BU:7Uer 7U:r 8;OJ;l;dr eH7er eH;r ;BU:7Uer fS:;^de7U:dr eHJdr )O;7
                            G];;R;Uer mH7er^JGHedr 7^;r 8;JUGr OWder 8pr \P;7:IUGr GjJOepr 7U:r mH7er eH;
                            .UJe;:r,e7e;drH7dr7G];;:reWr:WrJUr;o9H7UG;r?X]reH;r\O;7rW>rGjJOep
                     9      WjUd;Or8;OJ;l;dreH7ereH;r;BU:7Uedr:;9Ld@YUreWr;Ue;]rJUeWreHJdrG`;;R;Ue
                            Jdr7UrJUA[^R;:r7U:rlWNjUe7^qrWU;

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  9WUdeJeke;dreH;r;UeJ];r7G];;R;UerW>reH;r \7^eJ;d r      j^eH;]r 7OOr\7^gJ;dr 7G^;;reH7ereH;];r7^;rUWrW]7Or

  7G];;T;UedrW^r \^WRJd;drmHJ9HrH7l;r8;;UrR7:;reWrJU:j9;reH;r ;CU:7UereWr9H7UG;rHJdr\Q;7r eWr

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